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1    ALLISTER ADEL
     MARICOPA COUNTY ATTORNEY
2
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8    Telephone (602) 506-8541
     Facsimile (602) 506-4317
9    ca-civilmailbox@mcao.maricopa.gov
     MCAO Firm No. 00032000
10
     Attorneys for Maricopa County Attorney
11   Allister Adel
12
                         IN THE UNITED STATES DISTRICT COURT
13                             FOR THE DISTRICT OF ARIZONA
14
      Samuel Luckey and Aaron Dromiack, on             No. CV21-01168-PHX-GMS (ESW)
15
      behalf of themselves and those similarly
16    situated, and,
                                                       DEFENDANT’S NOTICE OF LODGING
17    Arizona Attorneys for Criminal Justice,          NON-ELECTRONIC EXHIBIT
18                      Plaintiffs,
19           v.
20
      Allister Adel, in her official capacity as
21    County Attorney for Maricopa County,

22                      Defendants.
23

24
            Pursuant to the Court’s Order dated September 23, 2021 (Doc. 38), Defendant hereby
25
     gives notice of lodging the following non-electronic exhibit on this date in support of
26
     Defendant’s Motion to Dismiss the First Amended Complaint and Defendant’s Response
27
     in Opposition to Plaintiff’s Motion for Class Certification (Doc. 40, Doc. 37):
28


                                                   1
       Case 2:21-cv-01168-GMS Document 41 Filed 09/24/21 Page 2 of 3



1
           Exhibit 4M, which consists of a flash drive containing the Maricopa County Superior
2
     Court’s Official “Microsoft Teams” Video-Taped Court Hearing in State v. Luckey,
3
     CR2021-103619-001 (Maricopa County Superior Court), depicting Plaintiff Luckey’s
4
     change of plea and plea colloquy in courtroom CCB 701 on September 13, 2021.
5
           Defendant mailed a DVD copy of Exhibit 4M to Plaintiffs’ counsel on September
6
     23, 2021.
7
           RESPECTFULLY SUBMITTED this 24th day of September 2021.
8
                                         ALLISTER ADEL
9
                                         MARICOPA COUNTY ATTORNEY
10
                                         By /s/ Ann Thompson Uglietta
11                                          ANN THOMPSON UGLIETTA
12                                          CHARLES TRULLINGER
                                            JOSEPH I. VIGIL
13                                          Deputy County Attorneys
                                            Attorneys for Maricopa County Attorney
14                                          Allister Adel
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        Case 2:21-cv-01168-GMS Document 41 Filed 09/24/21 Page 3 of 3



1                                              CERTIFICATE OF SERVICE
2           I hereby certify that on September 24, 2021, I caused the foregoing document to be
3    electronically transmitted to the Clerk’s Office using the CM/ECF System for filing and
     transmittal of a Notice of Electronic Filing to the following CM/ECF registrants:
4
     Honorable G. Murray Snow
5
     United States District Court
6    Sandra Day O’Connor U.S. Courthouse, Suite 622
     401 West Washington Street
7    Phoenix, Arizona 85003
8
     Honorable Eileen S. Willett
9    Magistrate Judge
     United States District Court
10
     Sandra Day O'Connor U. S. Courthouse, Suite 325
11   401 West Washington Street
     Phoenix, Arizona 85003
12

13   Somil Trivedi (pro hac vice application forthcoming)
     American Civil Liberties Union Foundation
14   Criminal Law Reform Project
     915 15th St., NW
15
     Washington, DC 20005
16   strivedi@aclu.org

17   Jared G. Keenan (027068)
18   Victoria Lopez (330042)
     American Civil Liberties Union Foundation of Arizona
19   3707 North 7th Street, Suite 235
     Phoenix, Arizona 85014
20
     jkeenan@acluaz.org
21   vlopez@acluaz.org
     Attorneys for Plaintiffs
22

23   /s/ S. Rojas
     S:\CIVIL\CIV\Matters\GN\2021\Luckey v. Adel 2021-1873\Pleadings\WORD\20210924 Def Ntc of Lodging NE Exh.docx
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